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     DAVID FORKNER
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        ) No. 2:08 CR 363 GEB
 9
                                                      )
                                                      )
10          Plaintiff,                                )
                                                      ) APPLICATION AND ORDER
11
     v.                                               ) EXONERATING BOND
                                                      )
12
     DAVID FORKNER,                                   )
                                                      )
13
                                                      )
            Defendant.                                )
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                                                      )
                                                      )
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                                                      )
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17          On April 13, 2012, the defendant in the above captioned matter was sentenced and his

18   case was closed. Defendant previously posted a $155,000.00 appearance bond secured by a deed

19   of trust. Accordingly, the surety for the defendant’s bail bond is entitled to the release of the

20   home title, and it is respectfully requested that this Court direct the Clerk of the Court to

21   reconvey title forthwith, and that the bond be exonerated.

22   DATED: May 8, 2012                             /s/ John R. Manning
                                                    Attorney for Defendant
23
                                                    David Forkner
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25   IT IS SO ORDERED.
26
     DATED: May 8, 2012.
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